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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

PAMELA REILLY, as Personal Representative
for the Estate of ROSEMARIE REILLY,

Plaintiff,
vs.

OTTAWA COUNTY, a Municipal

Corporation; OFFICER BRANDON

TUBERGEN, ia his individual capaaiiy; CaS€ NO-
sERGEANT CHRIS DILL, iii his individual HOH»
capacity; POLICE OFFICER COLLlN

WALLACE, in his individual capacity; ,

SERGEANT DENNIS LUCE, in his individual

capacity; CAPTAIN BRANDON DEHAAN,

In his individual capacity; and SEAN

KELLEY, in his individual capacity,

Defendants.

 

RASOR LAW FlR|\/l, PLLC

J ames B. Rasor (P43476)

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COMPLAINT AND JURY DEMAND
NOW COMES Plaintiff, PAl\/IELA REILLY, as Personal

Representative for the Estate of ROSEMARIE REILLY, by and through her

 

 

 

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attorneys, RASOR LAW FIRM, PLLC, and for her Complaint against the above-
named Defendants, jointly and severally, states as folloWs:
JURISDICTION AND VENUE

l. This cause of action is brought pursuant to 42 U.S.C. § 1983, as
Well as the Fourteenth Amendments to the United States Constitution, and
pendant claims arising under the laws of the State of Michigan.

2. This Court has jurisdiction over the claims arising under federal
law pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the claims
arising under state law pursuant to 28 U.S.C. § 1367.

3. Venue is appropriate in this Court pursuant to 28 U.S.C. §
139l(b), as this cause of action arose Within the Western District of Michigan.

PARTIES

4. Plaintiff, Pamela Reilly, is, and Was at all times relevant hereto, a
citizen of the United States and a resident of the City of New Baltimore,
County of Macomb, State of Michigan.

5. Plaintiff is the mother and duly appointed Personal Representative
of Rcsemarie Reilly, deceased, and brings suit in her representative capacity as
the Personal Representative of the estate.

6. Rosemarie Reilly Was at all times relevant hereto a citizen of the

United States.

 

 

 

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7. Defendant Ottawa County Was at all times relevant hereto, a body
politic and Municipal corporation organized under the laws of the State of
Michigan and is responsible for the operation of the Ottawa County Sheriff` s
Department (herein “OCSD”).

S. At all times material and relevant hereto, Defendant Brandon
Tubergen Was an officer of the Ottawa County Sheriff”s Department and Was
acting under the color of state law and in the course and scope of his
employment He is sued in his in his individual capacity.

9. At all times material and relevant hereto, Defendant Chris Dill Was
a Sargent for the Ottawa County Sherriff’s Department and Was acting under
the color of state law and in the course and scope of his employment He is
sued in his individual capacity.

l(). At all times material and relevant hereto, Defendant Collin
Wallace Was a police officer for the Grand Valley State Police Department and
Was acting under the color of state law and in the course and scope of his
employment He is sued in his individual capacity

ll. At all times material and relevant hereto, Defendant Brandon
DeHaan Was a Captain for the Grand Valley State Police Department and Was
acting under the color of state law and in the course and scope of his

employment He is sued in his individual capacity.

 

 

 

 

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12. At all times material and relevant hereto, Defendant Dennis Luce
was a Sargent for the Ottawa County Sheriff’ s Department and was acting
under the color of state law and in the course and scope of his employment He
is sued in his individual capacity

13. At all times material and relevant hereto, Defendant Sean Kelley
was an officer for the Bloomfield Township Police Department and the father
of Jeremy Kelley. He is sued in his individual capacity.

COMMON FACTUAL ALLEGATIONS

14. Plaintiff reasserts and re-alleges each and every allegation
contained in paragraphs l through 13, as if fully set forth herein.

15. Plaintiff, Pamela Reilly (“Pam”), is the mother of decedent
Rosemarie Reilly.

16. Rosemarie was shot and killed at approximately 3100 a.m. on
November 6, 2016 by her ex-boyfriend, Jeremy Kelley (herein “Jeremy”).

17. Rosemarie and Jeremy were in a romantic relationship while
Rosemarie attended college at Grand Valley State University.

18. Upon information and belief, Rosemarie and Jeremy’s relationship
ended on or about the second week in September of 2016.

l9. On or about October l, 2016, Rosemarie spoke to her mother and

explained that she and Jeremy were still living together, which caused her

 

 

 

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significant problems, and discussed her desire to move out of the residence that
she and Jeremy shared.

20. On or about October 5, 2016, Jeremy was admitted to the Holland
Hospital after attempting to commit suicide, telling Rosemarie that he had a
gun to his head and was going to shoot himself

21. Upon information and belief, Rosemarie was unable to locate
Jeremy when he threatened suicide on October 5, but was able to speak to
Jeremy’s father, Defendant Sean Kelley, who tracked Jeremy’s phone so that
police could locate him.

22. While attempting to locate Jeremy, Defendant Sean Kelley spoke
on multiple instances with Defendant Wallace along with other Grand Valley
State police officers

23. After getting out of the hospital following his October 5 suicide
threat, Jeremy began stalking and harassing Rosemarie.

24. Upon information and belief, Jeremy contacted Rosemarie
repeatedly on October 7, 2016, and his statements to her made her believe that
he was going to try and attempt suicide again.

25. ln part to avoid Jeremy’s constant harassment after his suicide
attempt Rosemarie stayed at the apartment of her friend, Shelby Gird, and also

at the house of her aunt and uncle, Noreen and David Rose.

 

 

 

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26. Upon information and belief, on or about the early morning of
October 8, 2017, Jeremy attempted to locate Rosemarie by calling Pam
pretending to be Jeremy’s boss, “Chad,” and telling Pam that Jeremy had been
taken to the hospital and that he needed Shelby’s phone number So he could
contact Rosemarie to obtain medical information for Jeremy.

27. These statements were lies and disturbing to Rosemarie.

28. On or about October 8, 2016, Rosemarie met her mother, Pam, for
a late lunch, Pam observed that Rosemarie had a crooked nose and facial
bruises, and Pam took Rosemarie to the hospital for treatment, where it was
determined that she had suffered a broken nose.

29. At approximately 5:00 p.m. on or about October 8, 2016, Jeremy
admitted to Pam during a phone conversation that he had hurt Rosemarie.

30. After leaving the hospital on October 8, 2016, Rosemarie called
her father, John, and told him that during an argument with Jeremy, after he
physically prevented her from leaving, Jeremy punched her in the face, arms,
and legs several times, causing her broken nose among other injuries.

31. From October 8, 2016 through October 11, 2016, Jeremy called

Rosemarie approximately forty three (43) times.

 

 

 

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32. On or about October ll, 2016, Jeremy went to the house of
Rosemarie’s aunt and uncle, Noreen and David Rose, asking to see Rosemarie
repeatedly, but was told she was not there.

33. After failing to locate Rosemarie on October li, Jeremy called
David Rose at approximately 11:10 p.m. and again threatened to kill himself,
stating that he had a gun to his head.

34. After being told by Jeremy that he was holding a gun to his head,
David called 911 and, upon information and belief, reported Jeremy’s actions
to Defendant Ottawa County Sheriff"s Department

35. Upon information and belief, an officer from Defendant Ottawa
County Sheriff’s Department acting on David’s report that Jeremy threatened
suicide contacted Jeremy by telephone, but the police took no further action
regarding Jeremy’s suicide attempt threat

36. After the October 11 suicide threat, Jeremy continued stalking
Rosemarie. On or about October 12, 2016, Jeremy came to Grand Valley State
University’s campus, Where Rosemarie was a student, and jumped in front of
Rosemarie’s car before pounding on the window and head-butting her vehicle.

37. On or about October 12, 2016, Rosemarie contacted GVSU’s
Police Department and reported Jeremy for stalking, domestic violence/abuse,

and for putting a gun to her head and threatening to kill her.

 

 

 

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38. Rosemarie made her report to Defendant Wallace of the GVSU
Police Department, who then contacted Defendant Ottawa County Sheriff`s
Department, who dispatched Defendant Dill to the GVSU campus to give
Rosemarie paperwork required for filing a Personal Protection Order (“PPO”).

39. Defendant Dill encouraged Rosemarie to file the PPO.

40. Defendant Wallace completed a “no trespassing” form for Jeremy
along with creating an incident report based on stalking arising from the
circumstances Rosemarie told him about; he also affirmatively suggested
Rosemarie file a PPO against Jeremy.

41. Upon information and belief, on or about October 13, 2016,
Defendant Tubergen of the OCSD visited Jeremy at Jeremy’s home and told
Jeremy to leave Rosemarie alone.

42. He did this based on Rosemarie’s desire to file the PPO.

43. Sometime after he visited Jeremy on October 13, 2016, Officer
Tubergen called Pam and told her that there was nothing that could be done to
prevent Jeremy from calling Rosemarie, that he had seen Jeremy’s guns and
that Jeremy was legally allowed to own those guns, and that he was “well

aware” that Jeremy’s father, Sean Kelley, was a police officer.

 

 

 

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44. At all times material and relevant, Jeremy’s father, Sean Kelley,
was a Patrol Officer with the Bloomfield Township Police Department in
Bloomfield Township, Michigan.

45. During the October 13, 2016, telephone conversation, Pam told
Defendant Tubergen that Jeremy had held a gun to Rosemarie’s head and
threatened to kill her with it. ln response, Officer Tubergen told Pam that
Rosemarie needed to file a report.

46. Upon information and belief, in response to Officer Tubergen’s
direction, on or about October 13, 2016, Rosemarie reported that Jeremy held a
gun to her head and threatened to kill her to Defendant Chris Dill.

47. Also on October 13, 2016, Defendant Dill informed Jeremy over
the telephone that he was not going to take Jeremy to jail despite his desire to
question him regarding Rosemarie’s complaint of domestic violence.

48. in the same telephone conversation with Jeremy, Jeremy informed
Defendant Dill that he was upset Rosemarie had called the police and he
believed she had obtained a PPO at that time.

49. Defendant DeHaan reviewed both Defendant Wallace’s and Dill’s
reports on October 13.

50. Pam also called and spoke with Defendant DeHaan on October 13,

2016, wherein she informed him about Jeremy’s stalking behavior, that Jeremy

 

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had several guns and was very unpredictable, and that she was concerned about
Jeremy’s father, Defendant Kelley, offering Jeremy bad advice regarding the
situation with Rosemarie.

51. Defendant DeHaan informed Pam that he would follow up on the
incident

52. Defendant DeHaan spoke to Jeremy on the morning of October
13, 2016. During this phone conversation, he informed Jeremy he was

inquiring into a report made about him by Rosemarie.

 

 

53. Defendant DeHaan also told Jeremy that because of his earlier
actions he was banned from GVSU property, was not allowed on to enter any
GVSU property, and not to contact any of the Reilly family members by phone,

e-mail or any other electronic means as they do not wish to contact him.

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54. On or about October 16, 2016, Pam Reilly spoke with Defendant
Luce about the need to retrieve Rosemarie’s belongings from Jeremy’s
residence and expressed concerns about Jeremy’s possession of firearms, which
she informed Defendant Luce Jeremy had previously threatened to kill
Rosemarie with.

55. Upon information and belief, at the time of this October 16 phone

conversation, Sgt. Luce knew that Jeremy’s dad was a West Bloomfield police

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officer, had spoken to him, and stated that Jeremy was allowed to have guns
and that there was no cause to remove them.

56. Pam called and spoke to the Ottawa County Sherriff` s Department
that day and asked them to meet Rosemarie and herself at Jeremy’s trailer to
retrieve her belongings

57. Upon information and belief, Jeremy’s father, Defendant Kelley,
had spoken with officer(s) from Defendant OCSD prior to this encounter and
on behalf of his son.

58. Upon arriving at Jeremy’s trailer, Jeremy and an officer from
Defendant OCSD were cordially standing in the parking lot waiting.

59. The officer initially was not going to supervise Rosemarie’s
removal of her things inside the trailer, was going to permit Jeremy and
Rosemarie to be alone while she removed her things, and only did so upon
request of the Reilly’s.

60. On or about October 17, 2016, Rosemarie paid for the PPO and
picked it up from the Kent County courthouse, signed by Judge Daniel
Zemaitis. The PPO ordered that Jeremy was prohibited from, among other
conduct: entering Rosemarie’s residence, entering onto GVSU property,

following Rosemarie, and contacting Rosemarie by phone or Facebook.

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61. On or about October 18, 2016, Jeremy called Rosemarie three
times despite Rosemarie attempting to block Jeremy’s phone.

62. On or about October 19, 2016, Rosemarie contacted the GVSU
police and reported to Defendant Wallace that Jeremy continued to call her and
stalk her by entering onto the GVSU campus and following Rosemarie with his
vehicle until she ran into a dining hall, where she called the police from.

63. On multiple instances Pam called the GVSU police expressing
fear for both her daughters, specifically Rosemarie, as her other daughter
Jennifer was with Rosemarie at the time.

64. Upon information and belief, officers from the GVSU Police
Department went to Rosemarie’s sister, Jennifer Reilly’s, dorm room to check
on Rosemarie after Pam Reilly called the GVSU police to tell them that Jeremy
was violating the PPO.

65. Despite Jeremy’s continued stalking of Rosemarie and
Rosemarie’s reports, no one attempted to arrest Jeremy.

66. Upon information and belief, during a telephone conversation that
occurred on or about October 20, 2016, Jeremy’s father, Defendant Sean
Kelley, told Pam that Rosemarie was a liar and that they (Pam and John)

needed to stop calling the police on Jeremy.

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67. Upon information and belief, sometime during the last week of
October 2016, Jeremy told Rosemarie and Jennifer Reilly that Jeremy’s dad,
Defendant Sean Kelley, had spoken to the local police and that “nothing was
going to happen” to Jeremy for violating the PPO.

68. Rosemarie emailed Defendant Wallace on or around October 22,
2016, to which she explained that since they had last spoken when she
informed him she obtained the PPO, Jeremy had tried to contact her 86 times
through her phone, left her multiple voicemails, and emailed her University
email address on multiple instances.

69. A warrant was prepared by Defendant OCSD for Jeremy’s arrest
on October 28, 2016, arising out of Rosemarie’s report of domestic violence.

70. Pursuant to Defendant OCSD’s policies, this warrant was mailed
to Jeremy’s residence

71. Upon information and belief, Defendant Wallace mailed Jeremy a
different warrant for his arrest on or around November 2, 2016, arising out of
Rosemarie’s complaint of his stalking to GVSU PD.

72. On or about November 4, 2016, Pam Reilly accompanied
Rosemarie to a Grand Rapids garage to retrieve some of Rosemarie’s personal

belongings that were stored there.

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73. While at the garage, Pam called 911 after believing she saw
Jeremy and asked the police to send an officer out while Rosemarie removed
her belongings from the garage.

74. The police refused to come to the garage, and because the garage
manager would not unlock the garage without Jeremy being present, Pam and
Rosemarie left

75. The following day, on or about November 5, 2016, Jeremy spoke
with John Reilly on the telephone and told John that he was with his brother,
Ryan Kelley, in Muskegon and would not be able to come open the garage.
Jeremy further stated that he was aware that he had warrants out for his arrest,
and John encouraged Jeremy to turn himself in and cooperate with the police.

76. Upon information and belief, either Jeremy’s father or one of the
Defendant police officers in the area also informed Jeremy he had a warrant for
his arrest relating to the domestic violence incident but did not effectuate _his
arrest

77. Upon information and belief, on or about November 6, 2016,
Jeremy found Rosemarie at a friend’s house located at 1450 Lake Dr. SE,
Grand Rapids, MI 49605, and, at approximately 3:00 a.m., dragged Rosemarie

from the residence by her hair, shot her multiple times in the torso with a black

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9 mm Beretta pistol when she attempted to flee back into the house, then shot
himselfin the head.

78. Rosemarie, whose condition was noted by police as indicating that
she had been involved in a struggle, was pronounced dead at the scene at
approximately 3:22 a.m.

79. Jeremy, who upon information and belief was not deceased when
police arrived, was transported to St. Mary’s Hospital and was later pronounced
dead from his injuries at approximately 3142 a.m.

80. Upon information and belief, Defendants knew that Jeremy had a
handgun in his possession yet permitted him to continue to possess the handgun
despite continual knowledge of his prior threats of shooting Rosemarie.

81. Defendants knew of Jeremy’s propensity for violence yet did
nothing to protect Rosemarie Reilly.

82. The risk that Jeremy Kelley was out of control and dangerous to
Rosemarie Reiliy was obvious and known by Defendants

83. Upon information and belief, it was told or communicated to local
police that “nothing was going to happen” to Jeremy Kelley for violating his

personal protection order.

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84. Upon information and belief, local police, including the
individually named Defendant officers, listened and acquiesced to Jeremy’s
father when he requested leniency for his son.

85. In the month preceding Rosemarie’s death, Defendants put Jeremy
on notice that he should stay away from Rosemarie (i.e. she made a police
complaint about him), that Rosemarie filed a PPO against him, and that he had
arrest warrant(s) out for his arrest relating to the stalking and the domestic

violence charge.

 

 

86. Defendants encouraged Rosemarie to file the PPO.
87. Jeremy’s father’s communications with the Defendant Officers,
and the Officers’ ensuing refusal to arrest and/or remove his guns, boldened

Jeremy’s belief that “nothing was going to happen” him, which in turn led to

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Rosemarie’s death.

88. Defendants’ regular communication with Jeremy, especially but
not limited to after he continually violated the signed PPO, boldened his belief
that “nothing was going to happen” him, which in turn led to Rosemarie’s
death.

89. The Defendants used apparent authority and refrained from
arresting Jeremy Kelley for violating his protection order on four (4) separate

occasions

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90. The Defendants actions constitute an affirmative act that either
created the risk or increased the risk of danger to Rosemarie Reilly placing her
in substantial risk of serious immediate and proximate harm which was the
cause of her death.

91. The Defendants affirmative actions are outrageous and shock the
conscience

COUNT I
FOURTEENTH AMENDEMENT VIOLATIONS UNDER

42 U.S.C. § 1983 AS TO (ALL/INDIVIDUAL) DEFENDANTS

92. Plaintiff reasserts and re-alleges each and every allegation
contained in paragraphs 1 through 91 , as if fully set forth herein.

93. This action is brought pursuant to 42 U.S.C. § 1983 against
Defendants in their individual capacities for depriving Plaintiff of her
constitutionally protected due process interest, under color of law, in violation
of the Due Process Clause of the Fourteenth Amendrnent to the United States
Constitution.

94. Plaintiff’s decedent had a clearly established right, under the
Fourteenth Amendment to the United States Constitution, to be free from
danger created by the state.

95. The acts and/or omissions of Defendants, constituted deliberate

indifference to Plaintiff s ri ght, in violation of the Fourteenth Amendment.

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96. These claims are cognizable under 42 U.S.C. § 1983.

97. As a result of Defendants’ conduct complained of herein, Plaintiff
suffered deprivation of clearly established and well-settled rights protected and
Secured by the Fourteenth Amendment to the United States Constitution.

98. Defendants, individually, were deliberately indifferent to
Plaintiff’s decedent which was a proximate cause of her death and conscious
suffering

99. Defendants are not entitled to governmental or qualified
immunity.

100. Pursuant to 42 U.S.C. § 1983, Defendants are liable to Plaintiff for
all damages allowed under federal law. To the extent that the damages
allowable and/or recoverable are deemed insufficient to fully compensate
Plaintiff and/or to punish or deter the Defendants, this Court must order
additional damages to be allowed so as to satisfy any and all such
inadequacies Defendants’ conduct was and remains extreme and outrageous
subjecting Defendants to punitive damages

101. As a result of the Defendants’ actions and/or omissions, Plaintiff
has the following damages:

a. Special damages in the form of medical, funeral, and burial
expenses;

b. Compensatory damages;

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c. Conscious pain and suffering;
d. Loss of companionship;
e. Punitive damages;

f. All damages allowable under Michigan law, including but not
limited to the Michigan Wrongful Death Act, M.C.L. § 600.2922;

g. All damages allowable under Federal law, including but not
limited to 42 U.S.C. § 1983; and

h. Reasonable costs and attomey’s fees under 42 U.S.C. § 1988.

WHEREFORE, Plaintiff Pamela Reilly, as Personal Representative of

 

 

the Estate of Rosemarie Reilly, prays for a judgment against Defendants,
jointly and severally, including punitive damages and attorney’s fees and costs
pursuant to 42 U.S.C. § 1988, and all allowable interest thereon.

COUNT ll
MUNICIPAL LIABILlTY AS TO DEFENDANT OTTAWA COUNTY

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102. Plaintiff reasserts and re-alleges each and every allegation
contained in paragraphs 1 through 101, as if fully set forth herein.
103. Defendant Ottawa County’s liability as a municipality arises out of
Monell v. Department ofSocial Ser‘vices, 436 U.S. 658 (1978).
104. Defendant Ottawa County through their policy making officials:
a. Failed to establish, implement and/or execute adequate policies,
procedures, rules and regulations to protect individuals, such as

Rosemarie Reilly, from individuals with violent tendencies or who
had PPOS against them;

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b. Failed to establish, implement and/or execute adequate policies,
procedures, rules and regulations to protect individuals, such as
Rosemarie Reilly, from individuals against whom arrest warrants
had been issued.

c. Defendant’s policy, procedures, regulations, and customs, and/or its
failure to enact the same, caused and was the driving force behind
the violations of Plaintiff`s constitutional rights as alleged in this
Complaint.

d. Failing to properly train its employees, including the above-named
Defendant

e. Failed to establish, implement and/or execute adequate policies,
procedures, rules and regulations that ensured officers from
different police departments_Defendant Kelley_could improperly
influence investigations and/or police conduct

105. At all times material hereto, Defendant Ottawa County, through its

agents, was deliberately indifferent to the strong likelihood that constitutional
violations, such as those in the instant case, would occur, and pursued policies,
practices, and customs that were a direct and proximate cause of the
deprivations of Plaintiff" s decedent’s constitutional rights

106. These claims are cognizable under 42 U.S.C. § 1983.

107. The customs, policies and/or practices of Defendant Ottawa

County were a proximate cause of the death and conscious suffering of
Plaintiff"s decedent for the aforementioned reasons

108. As a result of the Defendants’ actions and/or omissions, Plaintiff

has the following damages:

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a. Special damages in the form of medical, funeral, and burial
expenses;

b. Compensatory damages;

c. Conscious pain and suffering;
d. Loss of companionship;

e. Punitive damages;

f. All damages allowable under Michigan law, including but not
limited to the Michigan Wrongliil Death Act, M.C.L. § 600.2922;

g. All damages allowable under Federal law, including but not
limited to 42 U.S.C. § 1983; and

h. Reasonable costs and attorney’s fees under 42 U.S.C. § 1988.
WHEREFORE, Plaintiff Pamela Reilly, as Personal Representative of
the Estate of Rosemarie Reilly, prays for a judgment against Defendants,
jointly and severally, including punitive damages and attomey’s fees and costs
pursuant to 42 U.S.C. § 1988, and all allowable interest thereon.
COUNT III
WRONGFUL DEATH AS TO DEFENDANTS TUBERGON, DILL,
LUCE, WALLACE, DEHAAN AND KELLEY
109. Plaintiff reasserts and re-alleges each and every allegation
contained in paragraphs 1 through 108, as if fully set forth herein.

110. Plaintiffs decedent suffered injuries resulting in death caused by

Defendants’ wrongful conduct and if death had not ensued, Plaintiff’s

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decedent would have been entitled to maintain an action and recover damages
l\/ICL § 600.2922.

l 1 l. The Defendants’ aforementioned acts and/or omissions were a
proximate cause of Plaintiff’s decedent’s death.

112. The acts and/or omissions of Defendants Brandon Tubergen, Chris
Dill, Dennis Luce, Collin Wallace, Brandon DeHaan and Sean Kelley
constituted gross negligence under state law.

113. The acts and/or omissions of Defendants Brandon Tubergen, Chris

 

 

Dill, Dennis Luce, Collin Wallace, Brandon DeHaan and Sean Kelley were
intentional, wanton and willfui, and/or grossly negligent and Defendants are

therefore not entitled to governmental immunity under state law, MCL §

691 .1407.

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114. Defendants’ gross negligence was a proximate cause of the
injuries, including the death of Plaintiff’s decedent

115. As a result of the Defendants’ actions and/or omissions, Plaintiff
has the following damages:

a. Special damages in the form of medical, funeral, and burial
expenses;

b. Compensatory damages;
c. Conscious pain and suffering;

d. Loss of companionship;

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e. Punitive damages;

f. All damages allowable under Michigan law, including but not
limited to the Michigan Wrongful Death Act, M.C.L. § 600.2922;

g. All damages allowable under Federal law, including but not
limited to 42 U.S.C. § 1983; and

h. Reasonable costs and attorney’s fees under 42 U.S.C. § 1988.
WHEREFORE, Plaintiff Pamela Reilly, as Personal Representative of
the Estate of Rosemarie Reilly, prays for a judgment against Defendants,
jointly and severally, including punitive damages and attomey’s fees and costs
pursuant to 42 U.S.C. § 1988, and all allowable interest thereon.
COUNT IV

CIVIL CONSPIRACY AS TO DEFENDANTS TUBERGON1
DILL, LUCE., WALLACE, DEHAAN AND KELLEY

116. Plaintiff reasserts and re-alleges each and every allegation
contained in paragraphs l through l 15, as if fully set forth herein.

117. Defendants Tubergon, Dill, Luce, Wallace, Dehaan and Kelley
violated Plaintiff’s decedent’s civil rights as identified herein, including by:

a. Allowing Jeremy Kelley to remain out of police custody despite
numerous violations of a PPO and despite Defendants’
knowledge that Jeremy Kelley possessed firearms;

b. Waiting to arrest Jeremy Kelley pursuant to an arrest warrant
for domestic violence and mailing said warrant to Jeremy
Kelley’s residence;

c. Speaking with Jeremy Kelley’s father, Defendant Kelley, and
listening to his efforts regarding leniency for his son;

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d. Other violations of Plaintiff"s decedent’s civil rights learned
through the course of discovery.

118. Upon information and belief, Defendants violated Plaintiff`s
decedent’s civil rights pursuant to an agreement with or in concert with
Defendant Sean Kelley.

119. Defendants were acting within the course and scope of their
employment as police officers when they conspired with Defendant Kelley.

120. As a result of the Defendants’ actions and/or omissions, Plaintiff
has the following damages:

a. Special damages in the form of medical, funeral, and burial
expenses;

b. Compensatory damages;

c. Conscious pain and suffering;
d. Loss of companionship;

e. Punitive damages;

f. All damages allowable under Michigan law, including but not
limited to the Michigan Wrongful Death Act, M.C.L. § 600.2922;

g. All damages allowable under Federal law, including but not
limited to 42 U.S.C. § 1983; and

h. Reasonable costs and attorney’s fees under 42 U.S.C. § 1988.
WHEREFORE, Plaintiff Pamela Reilly, as Personal Representative of

the Estate of Rosemarie Reilly, prays for a judgment against Defendants,

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jointly and severally, including punitive damages and attomey’s fees and costs

pursuant to 42 U.S.C. § 1988, and all allowable interest thereon.

Dated: October 5, 2018

RESPECTFULLY sUBMlTTED:
THE RAsoR LAW FIRM

/s/ James B. Rasor

James B. Rasor (P43476)

Andrew J. Laurila (P78880)
Attomeys for Plaintiffs

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

PAMELA REILLY, as Personal Representative
for the Estate of ROSEMARIE REILLY,

Plaintiff,
vs.

OTTAWA COUNTY, a Municipal

Corporation; OFFICER BRANDON

TUBERGEN, in his individual capaaiiv; CaS€ NO- ___
sERGEANT cHRrs DILL, in his individual HOH- _
capacity; POLICE OFFICER COLLIN

WALLACE, in his individual capacity;

SERGEANT DENNIS LUCE, in his individual

capacity; CAPTAIN BRANDON DEHAAN,

In his individual capacity; and SEAN

KELLEY, in his individual capacity,

Defendants.

 

RASOR I_AW F|RM, F’|_I_C

J ames B. Rasor (P43476)

Andrew J. Laurila (P78880)

Rasor Law Firm, PLLC

Attorneys for Plaintiff

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Royal Oak, Ml 48067

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ibr@rasorlawfirm.com
ail@rasorlawfirm.com

 

DEMAND FOR JURY TRIAL
NOW COMES Plaintiff, PAMELA REILLY, as Personal

Representative for the Estate of Rosemarie Reilly, by and through her attorneys,

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RASOR LAW FIRM, PLLC, and hereby demands a trial by jury in the above-

captioned cause of action.

Dated: October 5, 2018

RESPECTFULLY sUBMITTED:
THE RAsoR LAW FlRM

/s/ James B. Rasor

James B. Rasor (P43476)

Andrew J. Laurila (P78880)
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